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 6

 7                            UNITED STATES DISTRICT COURT
 8           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 9
10    JENNIFER STAVITSKY,                           CASE NO. 2:25-cv-4958
                                                    Civil Rights
11          Plaintiff,
                                                    COMPLAINT FOR PRELIMINARY
12          v.                                      AND PERMANENT INJUNCTIVE
                                                    RELIEF AND DAMAGES:
13    MURRAY HAMILTON
      INVESTMENTS LLC;
14    WEINSTOCK MANAGEMENT                          1) Violation of the Federal Fair Housing
      LLC,                                             Act (42 U.S.C. § 3601 et seq.)
15
                                                    2) Violation of the California Fair
16          Defendants.                                Employment and Housing Act (Gov’t
                                                       Code § 12926 et seq.)
17
                                                    3) Violation of the California Disabled
18                                                     Persons Act (Civil Code § 54 et seq.)

19                                                  4) Violation of the California Unruh Act
                                                       (Civil Code § 51(b))
20

21
                                                    DEMAND FOR JURY TRIAL

22
           Plaintiff JENNIFER STAVITSKY complains of Defendants MURRAY
23
     HAMILTON INVESTMENTS LLC; WEINSTOCK MANAGEMENT LLC, and
24
     alleges as follows:
25
           1.     INTRODUCTION: Plaintiff JENNIFER STAVITSKY brings this
26
     action against MURRAY HAMILTON INVESTMENTS LLC; WEINSTOCK
27
     MANAGEMENT LLC, the owner and operator of the apartment building located at
28
                                                      1
                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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 1   1411-1413 Murray Drive, Los Angeles, CA 90026 and 3317-3319 Hamilton Way,
 2   Los Angels, CA 90026 (“Murray Apartments”) alleging discrimination on the basis
 3   of disability in violation of the Federal Fair Housing Act, 42 U.S.C. § 3601, et seq.,
 4   and related state laws.
 5         2.     For years Defendants have denied and continue to deny Plaintiff’s
 6   requests for reasonable accommodation so that she can fully enjoy her dwelling in
 7   the Murray Apartments. Plaintiff has repeatedly requested that Defendants either
 8   (1) allow her to transfer to a vacant upper floor unit so that she can escape the
 9   constant noise from upstairs neighbors which significantly impacts Plaintiff due to
10   her disability or (2) take sufficient measures to mitigate the noise level in the
11   bedroom of her apartment to avoid disruption of her sleep by the movement of her
12   upstairs neighbors. Despite Plaintiff repeatedly asking for such a transfer or
13   mitigation as a reasonable accommodation for her disability, Defendants have
14   continuously insisted that no comparable apartments on the upper floor are
15   available even when there have been vacant units of comparable size to Plaintiff’s
16   unit. Further, Defendants have refused to actually provide and enforce sufficient
17   noise mitigation for the upper units in the building to allow Plaintiff to use and
18   enjoy her dwelling despite their repeated promises to do so. This includes failing to
19   honor their own contractual agreement to do so. They have done this despite being
20   aware for years that Plaintiff is suffering insomnia, hypervigilance, anxiety and
21   chronic fatigue as a result of the noise created by upstairs neighbors in her current
22   apartment due to her disability.
23         3.     Plaintiff seeks an injunction compelling Defendants to grant her
24   reasonable accommodation requests so that she can fully use and enjoy her
25   dwelling in a manner that is substantially equal to that of other tenants at the
26   Murray Apartments, to force Defendants to change their policies to provide
27   reasonable accommodations to disabled tenants; and damages for the injuries
28   Plaintiff has suffered and will continue to suffer until Defendants changes their
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 1   discriminatory behavior.
 2          4.     JURISDICTION: This Court has jurisdiction of this action pursuant
 3   to 28 U.S.C. section 1331 for violations of the Fair Housing Act, 42 U.S.C.
 4   sections 3601 et seq. This Court has jurisdiction over the pendent state-law claims
 5   brought under California law pursuant to 28 U.S.C. section 1367.
 6          5.     VENUE: Venue is proper in this court pursuant to 28 U.S.C.
 7   section 1391(b) and is founded on the fact that the real property which is the subject
 8   of this action is in this district and that Plaintiff’s causes of action arose in this
 9   district.
10          6.     INTRADISTRICT: This case should be assigned to the Western
11   Division as the real property which is the subject of this action is in this intradistrict
12   and Plaintiff’s causes of action arose in this intradistrict.
13          7.     PARTIES: Plaintiff JENNIFER STAVITSKY is and at all relevant
14   times was a “handicapped person” as defined by 42 U.S.C. section 3602, and a
15   “person with a disability” as defined in 29 U.S.C. section 705(9)(B), California
16   Government Code section 12926, the Unruh Civil Rights Act, California Civil
17   Code section 51, the Disabled Persons Act, California Civil Code section 54.1, and
18   Civil Code section 3345. Plaintiff has been diagnosed with post-traumatic stress
19   disorder (PTSD), depression and generalized anxiety disorder stemming from
20   childhood trauma that occurred at night. Plaintiff’s disabilities substantially limit
21   her major life activities including maintaining a consistent sleep schedule, thinking
22   clearly (particularly when fatigued due to insomnia), and maintaining relationships.
23          8.     Plaintiff’s PTSD is often triggered around bedtime because her trauma
24   stems from occurrences of being awakened during the night. Her symptoms often
25   manifest as insomnia which include difficulty falling asleep, difficulty staying
26   asleep, hypervigilance and anxiety when woken during the night, and difficulty
27   falling back asleep once awakened. Plaintiff needs a quiet environment in order to
28   go to sleep and stay asleep. If she does not have a quiet space throughout the night,
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 1   Plaintiff cannot get sufficient sleep. As sleep is such an integral part of any person’s
 2   health, Plaintiff’s entire life is greatly impacted when she does not get adequate
 3   sleep, including her ability to perform self-care, think clearly, and work. She often
 4   has dizzy spells due to lack of sleep which make it unsafe for her to drive.
 5         9.     Defendants MURRAY HAMILTON INVESTMENTS LLC and
 6   WEINSTOCK MANAGEMENT LLC are the owners and/or operators of the
 7   Murray Apartments, a 7-unit apartment building located at 1411-1413 Murray
 8   Drive, Los Angeles, CA 90026 and 3317-3319 Hamilton Way, Los Angeles, CA
 9   90026. The Murray Apartments are a dwelling within the meaning of the Fair
10   Housing Act, 42 U.S.C. § 3602(b), a housing accommodation under FEHA,
11   Government Code § 12927(d), and the Disabled Persons Act, Civil Code §
12   54.1(b)(2), and a business establishment under the Unruh Act, Civil Code § 51.
13         10.    Upon information and belief, the Murray Apartments consist of one
14   studio apartment, three one-bedroom apartments, and three two-bedroom
15   apartments (some of which have been remodeled from one-bedroom apartments to
16   two-bedroom apartments during Plaintiff’s tenancy, but that did not change square
17   footage). There are four upper units and three lower units in the building. The
18   Murray Apartments are rent controlled units.
19         11.    FACTUAL STATEMENT: Plaintiff began her tenancy at the Murray
20   Apartments in 2011 when she moved into a one-bedroom, one-bathroom apartment
21   750 square foot apartment. Plaintiff’s apartment is a lower unit, with one apartment
22   (1413 Murray Drive) above hers. In Plaintiff’s unit, the bedroom is located directly
23   below the living room, dining area, and kitchen in the upper unit. Unit 1413 has
24   hardwood floors throughout the unit which allows sound to carry between the upper
25   and lower units. At the time she moved into the building, Plaintiff was traveling for
26   work frequently and therefore was not experiencing the constant sleep disruption
27   that she is currently experiencing.
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 1         12.    In 2018, Plaintiff began experiencing frequent sleep interruptions
 2   while in her apartment due to the noise from her upstairs neighbor which caused a
 3   significant deterioration in her PTSD symptoms and worsening of her condition.
 4   At that time, she began discussing potential reasonable accommodation with the
 5   previous property owner of Murray Apartments (Eisenberg).
 6         13.    On February 11, 2019, Plaintiff submitted a request for reasonable
 7   accommodation to her former landlord. In that request, Plaintiff disclosed that she
 8   suffered from PTSD which was being exacerbated by the sound transmission
 9   between her unit and the unit above her (1413 Murray Drive). Plaintiff and
10   Eisenberg were working toward a potential solution which involved a provision that
11   would require the tenant of 1413 Murray Drive to cover 80% of the floors in all
12   living spaces with rugs and soundproof padding. However, the negotiations ended,
13   on information and belief because Defendant decided to sell the property.
14         14.    Defendants acquired the Murray Apartments on or about February 18,
15   2021. At the time of the sale, the unit above Plaintiff’s unit was vacant.
16         15.    On February 25, 2021, Plaintiff made her first request for reasonable
17   accommodation to Defendants through a letter sent to Verenice Ramirez. She
18   wrote in part:
19         I am requesting an accommodation for my disability. I suﬀer from
20         PTSD and anxiety disorder, and my symptoms are exacerbated by noise
           made on the hardwood floors above my apartment when there are
21         occupants in the upstairs unit at 1413 Murray Drive. The sound
22         transmission from the upstairs floors into my apartment is abnormally
           loud, and the upstairs living room and kitchen sit directly above my
23         bedroom. The sound of footsteps, furniture moving, and items dropping
24         on those hardwood floors triggers my insomnia, hypervigilance,
           chronic fatigue, and depression. I am formally requesting one of the
25         following accommodations for a quieter apartment:
26
           1) I request to transfer to the upstairs apartment at 1413 Murray Drive
27

28                Or
                                                   5
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 2           2) I request that 1413’s hardwood floors be carpeted with soundproof
             underlayment or padding
 3           Please e-mail me back with your response to my request by March 11,
 4           2021. In the meantime, please let me know if you would like
             documentation of my disability and need for a quieter apartment.
 5

 6           16.   Defendants did not respond to Plaintiff’s request for accommodation,
 7   and in early March they began renovating the 1413 Murray Drive unit. After a
 8   search of the Los Angeles Building Department’s website to find permits for these
 9   renovations, none could be found. On information and belief these renovations were
10   done illegally. Due to the construction noise, Plaintiff had to relocate to her aunt’s
11   home.
12           17.   On March 23, 2021, Plaintiff sent another email to Defendants again
13   requesting beginning an interactive process regarding her previous request for
14   reasonable accommodation. In her email, Plaintiff also noted that since work was
15   being done beneath the floorboards in the 1413 Murray Drive Unit, it would be a
16   good time to implement some soundproofing between the floors and her ceiling to
17   accommodate her disability.
18           18.   Defendants delayed any substantive discussions of Plaintiff’s requests
19   until April 5, 2021. At that time, Plaintiff discussed the matter with Defendants’
20   representative, Lumi Voinescu. During that conversation, Defendants offered to
21   require the new tenants of 1413 Murray Drive to install rugs and padding in the
22   living room as an alternative accommodation to relocating Plaintiff, installing
23   carpet, or providing soundproofing insulation between the floors during the
24   renovation. Plaintiff requested that the rug coverage include additional high traffic
25   areas such as the dining area and hallway, and she also requested that the agreement
26   be finalized in writing and included in the lease agreement prior to Defendants
27   listing 1413 Murray Drive for rent. Plaintiff followed up with Defendants regarding
28
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 1   her requests on April 8, 2021, April 15, 2021, April 30, 2021, May 24, 2021, and
 2   June 11, 2021.
 3          19.    On June 4, 2021, Defendants listed 1413 Murray Drive for rent on
 4   Zillow. The listing stated that the unit had “hardwood floors throughout” but made
 5   no mention of the requiring rug coverage on those floors. Further, Plaintiff still had
 6   not received any written confirmation from Defendants of the language that would
 7   be in the lease regarding rug and soundproof padding requirements. Plaintiff
 8   followed up with Defendants regarding this issue.
 9          20.    On June 14, 2021, Defendants’ representative, Lumi Voinescu,
10   informed Plaintiff that the new lease for 1413 Murray Drive would include a “good
11   neighbor policy of covering 80% of the floor area of the living room with soft
12   cover, and that landlord will provide memory foam padding to place under such
13   covering.”
14          21.    The new tenants moved into 1413 Murray Drive on June 26, 2021.
15   They did not immediately place the padding and rugs on the floors, so Plaintiff was
16   forced to relocate to her aunt’s house due to the noise from the new tenants.
17          22.    As of August 10, 2021, the rugs and padding had still not been put into
18   place by the upstairs neighbor. Plaintiff requested that Defendants ensure that the
19   “good neighbor policy” of the lease was enforced such that the padding and rugs
20   would be in place by September 10, 2021. On August 17, 2021, Defendants
21   responded that they were still coordinating with the new tenants.
22          23.    On August 27, 2021, Defendants listed another unit in the Murray
23   Apartments (3317 Hamilton Way) for rent on Zillow. 3317 Hamilton Way is an
24   upper floor unit in the Murray Apartments which was a comparable unit to
25   Plaintiff’s, which rented for $202 less per month than Plaintiff’s unit, prior to
26   Defendants renovating it before relisting it for rent. Defendants did not inform
27   Plaintiff of the availability of the unit prior to renovation or listing.
28
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 1         24.    On September 12, 2021, Plaintiff again emailed Defendants regarding
 2   the noise levels from 1413 Murray Drive. She informed Defendants that the noise
 3   level in her apartment indicated that a large portion of the living room was not
 4   covered with rugs and that the noise was impacting her sleep. She again requested
 5   that they enforce the “good neighbor policy.” Defendants confirmed that the rugs
 6   and pads had not been installed as of September 28, 2021.
 7         25.    On October 8, 2021, Plaintiff informed Defendants that although she
 8   had been staying elsewhere until the accommodation of the rugs and padding were
 9   in place in 1413 Murray Drive, the alternative housing would no longer be available
10   to her as of October 23, 2021. Plaintiff again requested that Defendants’ enforce the
11   accommodation that they had previously agreed to.
12         26.    On October 14, 2021, Defendants confirmed that the rugs and pads
13   were in place in 1413 Murray Drive. However, on October 28, 2021, Plaintiff
14   informed Defendants that the rugs and padding were not providing sufficient
15   soundproofing because they were not covering the required space. She notified
16   Defendants that there was not 80% coverage as required by the agreement, and she
17   offered to pay for alterative padding that would provide better soundproofing under
18   the rugs.
19         27.    On November 12, 2021, Defendants conducted an on-site visit to
20   check the effectiveness of the soundproofing pads and rugs. Defendants’ inspector
21   agreed that the rugs were not providing sufficient coverage in Plaintiff’s bedroom
22   to deaden the noise, and they agreed to amend the “good neighbor policy” to
23   require additional rug coverage near the kitchen in 1413 Murray Drive.
24         28.    Defendants did not force implementation of any new rug coverage, and
25   Plaintiff followed up with them regarding the issues on December 20, 2021,
26   January 5, 2022, and January 10, 2022.
27         29.    On January 10, 2022, Plaintiff learned that another one-bedroom upper
28   floor unit in the Murray Apartments (1411 Murray Drive) was soon to be vacated.
                                                  8
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 1   She immediately emailed Defendants and renewed her request to transfer to a
 2   comparable upper floor unit, specifically 1411 Murray Drive. In her email she
 3   noted that “moving into the unit ‘as-is’ to facilitate a reasonable transfer.
 4   Seeing as their unit at 1411 Murray Drive is a top-floor unit, this should resolve the
 5   problem entirely as it would not require the participation of another tenant and the
 6   top-floor is free from overhead impact noise, which would be a much better fit for
 7   my condition overall.”
 8           30.   On January 14, 2022, Defendants’ representative informed Plaintiff
 9   that the 1413 Murray Drive tenants had represented that no padding or rugs had
10   been removed, but they failed to address Plaintiff’s concerns or request for transfer
11   to an upper floor unit.
12           31.   On January 16, 2022, and January 24, 2022, Plaintiff reiterated her
13   request for reasonable accommodation to be transferred to the vacant upper floor
14   unit.
15           32.   On January 28, 2022, Defendants’ representative, Lumi Voinescu
16   called Plaintiff to discuss her request for transfer to 1411 Murray Drive. Ms.
17   Voinescu told Plaintiff that the vacant unit was 10% larger than Plaintiff’s unit.
18   Plaintiff offered to pay a proportionate rent increase if she could move into the unit
19   without Defendants preforming any renovations. Defendants told Plaintiff that her
20   current unit would need to be assessed to determine the market value before a
21   potential transfer could be approved. Plaintiff agreed to this process.
22           33.   On February 7, 2022, Defendants gave Plaintiff a tour of 1411 Murray
23   Drive while they evaluated her unit for market value.
24           34.   Having heard nothing from Defendants, Plaintiff followed up on her
25   request for transfer to the upper unit on February 23, 2022, and March 1, 2022.
26           35.   On March 18, 2022, Defendants offered Plaintiff a transfer to 1411
27   Murray Drive at a monthly rent of $4000, despite that the previous tenants had only
28   paid around $1,217 per month in rent. Plaintiff informed Defendants that the offer
                                                   9
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  1   was too expensive for her, roughly four times Plaintiff’s current rent of $1,065 per
  2   month. Defendants then offered to pay Plaintiff to leave her unit. Plaintiff declined
  3   any offer to pay her to leave her unit. Defendants then told Plaintiff that they could
  4   not offer any other solutions to accommodate her disability, including enforcement
  5   of the good neighbor policy.
  6         36.    During the Spring and Summer of 2022 Plaintiff spent as much time as
  7   she could at her aunt’s home due to the noise from 1413 Murray Drive which
  8   disrupted her sleep and triggered her PTSD symptoms.
  9         37.    During the fall of 2022, Plaintiff returned to her apartment full time to
 10   be close to and care for her sick mother. Plaintiff’s return coincided with
 11   Defendants’ renovation of 1411 Murray Drive. Plaintiff made several requests that
 12   Defendant comply with local ordinances regarding construction work including not
 13   working on Sundays or late at night to accommodate her disability. Defendants
 14   failed to substantively respond to any complaints or requests for adherence to
 15   construction hour restriction.
 16         38.    In late 2022, Plaintiff’s aunt moved away from the area, and Plaintiff
 17   no longer had the option of seeking a respite from the noise in her apartment or get
 18   a full night of sleep elsewhere.
 19         39.    During the Fall of 2022 through the summer of 2023, Plaintiff was
 20   regularly startled awake between 5:00 am and 5:30 am due to noise emanating from
 21   1413 Murray Drive.
 22         40.    On June 2, 2023, Plaintiff spoke directly with the tenant of 1413
 23   Murray Drive regarding the issues she was experiencing with noise in her bedroom
 24   coming from his apartment. Plaintiff’s neighbor informed her that Defendants never
 25   notified him of the rug policy when he moved in. Defendants only brought it to his
 26   attention only after Plaintiff had complained about the noise. He further informed
 27   Plaintiff that he had replaced the rugs in his unit several times without putting down
 28   or being supplied any soundproofing padding.
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  1         41.    On June 3, 2023, Plaintiff emailed Defendants to inform them of her
  2   conversation and stating in part,
  3         I connected with [the tenant] upstairs at 1413 Murray yesterday, as the
  4         rugs/rugpads have been ineffective at absorbing the impact noise above
            my bedroom for a while now. It is taking a big toll on my ability to
  5         sleep and my health.
  6
            He was very kind and shared that they've placed new rugs, but they are
  7         still in need of soundproof rugpads cut to the new dimensions.
  8         Without them, we hear every footstep. Could you please help
            coordinate the new rugpads and confirm everything is in place
  9         according to the 80% agreement within the next two weeks?
 10         42.    On June 7, 2023, Defendants told Plaintiff that they would order new
 11   padding for one rug. Plaintiff replied with a request Defendants ensure that all the
 12   rugs/pads were in place and in good condition when they dropped off the new one.
 13   Defendant did not respond.
 14         43.    On November 5, 2023, Plaintiff informed Defendants that the “good
 15   neighbor policy” continued to be ineffective in reducing the noise from 1413
 16   Murray Drive in her apartment. She emailed Defendants the following:
 17         The area rug/rugpad configuration has remained ineffective since I
 18         connected with [the tenant] in June. My husband and I are regularly
            woken throughout the week by loud, uninterrupted impact noise from
 19         walking across the floor above our bedroom, as early as 5am on
 20         Tuesdays. I recently lost my mom, which has exacerbated my insomnia
            and amplified my need for the ability to sleep. While I appreciate that
 21         the upstairs tenants may be trying to be quiet during overnight hours,
 22         the floors remain highly sensitive and resonant without the agreed upon
            coverage and padding.
 23

 24         Given that the accommodation was uninstalled and new coverings
            placed, I'd like to request a walkthrough with you while everyone is
 25         home so we can troubleshoot the coverage as we had once before
 26         please. Given how long this issue has been going on, I think it would
            be beneficial to have Lumi on site as well to avoid any blindspots.
 27         Provided a few days notice, I can make almost any day work - with the
 28         exception of November 18-20 for my mom's memorial services. When
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  1         is a good time within the next 2 weeks?
  2         44.    On November 14, 2023, Defendants informed Plaintiff they had
  3   ordered another new pad for a rug in 1413 Murray Drive.
  4         45.    On November 21, 2023, Defendants’ representative conducted an in-
  5   person inspection to assess the effectiveness of the rugs and pads on mitigating the
  6   noise in Plaintiff’s unit from 1413 Murray Drive. Defendants’ representatives
  7   confirmed that there were at least two areas of regular foot traffic that were not
  8   covered by pad/rugs. The Parties all agreed that rugs and padding would be
  9   installed in both of the uncovered areas of the unit to further dampen the noise
 10   intrusion into Plaintiff’s unit. Defendants also informed Plaintiff that the new rug
 11   pads were thinner than the previous pads due to complaints from the 1413 Murray
 12   Drive tenants but provided no potential solution or mitigation for this issue.
 13         46.    Throughout the end of November and December the tenants of 1413
 14   Murray Drive did not install any further pads or rugs. Despite Plaintiff following
 15   up with Defendant on several occasions and sending an audio recording proving the
 16   sound intrusion, Defendants refused to actually enforce the agreed to
 17   accommodation.
 18         47.    On January 3, 2024, Plaintiff emailed Defendants again requesting that
 19   Defendants enforce the “good neighbor policy” in regard to the areas not currently
 20   covered by pads and rugs in 1413 Murray Drive.
 21         The floor is clearly still in need of coverage and effective padding. We
 22         are unable to rest in the bedroom with this severe sound disturbance.
            We continue to be woken during pre-dawn hours at least 1-2x per week,
 23         including yesterday at 5:30am. It has been an incredibly challenging
 24         time for us, and the prolonged inability to sleep is impacting my health
            conditions and, subsequently, every area of our lives.
 25
            48.    On February 1, Defendants sent a contractor to Plaintiff’s unit to
 26
      evaluate whether sound proofing Plaintiff’s unit’s ceiling would be a possible
 27
      alternative solution to the “good neighbor policy.” Defendants’ contractor informed
 28
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  1   both Plaintiff and Defendants that soundproofing the ceiling of Plaintiff’s unit was
  2   unlikely to be an effective solution for the noise issue. During that site visit,
  3   Defendants’ representative also confirmed that the floors of 1413 Murray Drive
  4   were still not covered with rugs and padding as previously agreed upon.
  5           49.   On February 21, 2024, Plaintiff again emailed Defendants and
  6   requested that they enforce the “good neighbor policy” as they had previously
  7   agreed. She also reiterated that soundproofing the ceiling of her unit was unlikely
  8   to work and therefore she was not interested in pursuing that accommodation.
  9   Further, Plaintiff informed Defendants that the promised accommodation was not
 10   provided she sought an accommodation of being relocated if the upstairs neighbors
 11   vacate the unit, or other appropriate accommodation.
 12           50.   On March 1, 2024, Defendants and Plaintiff had a Zoom meeting to
 13   discuss Plaintiff’s accommodation. Defendants admitted that the “good neighbor
 14   policy” was completely unenforceable against the 1413 Murray Drive tenants. They
 15   indicated that they were continuing to explore soundproofing the ceiling of
 16   Plaintiff’s unit as another alternative, despite Plaintiff’s objection. Plaintiff
 17   reiterated that the current accommodations were ineffective for mitigating the noise
 18   which was impacting her disability, and that the ceiling padding had already been
 19   shown to be ineffective. Plaintiff reiterated her requested accommodation to be
 20   transferred to a top floor unit. Defendants said that they would contact Plaintiff
 21   regarding these issues at a later date.
 22           51.   Plaintiff followed up with Defendants regarding compliance with her
 23   requested accommodations on March 15, 2024, March 29, 2024, and April 13,
 24   2024.
 25           52.   Defendants finally responded on April 17, 2024, stating that the tenant
 26   of 1413 Murray Drive had “agreed to restore the area between the front door and
 27   the kitchen to the level of coverage from the initial period of his tenancy in 2021…”
 28   Plaintiff asked Defendants to confirm that the padding under the rugs would be the
                                                     13
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  1   original padding that had been agreed upon, and Defendants confirmed that they
  2   would “provide new padding for the new rugs. All the existing rugs he has now
  3   have padding as well.”
  4         53.    On May 7, 2024, Defendants informed Plaintiff that the rugs and
  5   padding had been reinstalled in 1413 Murray Drive.
  6         54.    On May 15, 2024, Plaintiff notified Defendants that the rugs and
  7   padding as installed were not enough to mitigate the noise intrusion from 1413
  8   Murray Drive into her unit. She noted that this was particularly true since the
  9   tenants had a large rambunctious dog. Plaintiff sent a video recording of the noise
 10   intrusion in her unit. She also requested that Defendants provide her with
 11   documentation regarding specs of the padding they purchased.
 12         55.    Instead of providing the requested documentation, on May 29, 2024,
 13   Defendants requested that Plaintiff provide them with recordings of the noise
 14   intrusion she was still experiencing. Plaintiff responded that she would do her best
 15   to capture the noise but that is difficult for her to do when her hypervigilance is
 16   triggered after being awoken in the middle of night. Additionally, Plaintiff wrote:
 17         As a reminder, I requested accommodation for a quieter apartment
 18         because the floor noise impacts my condition regardless of the hour,
            especially as the insomnia often necessitates my sleeping past 8am or
 19         catching up on sleep during the day. You and Lumi are welcome to
 20         come listen to the impact noise created by the dog running, jumping,
            and playing above the bedroom. This will give you a better idea of the
 21         sound intrusion than a recording. The iphone never picks up the
 22         intensity of the low-end noise. Please let me know when you would like
            to come.
 23

 24         56.    On May 30, Plaintiff did send Defendants a video of the noise
 25   intrusion in her apartment as requested. She also repeated her request that
 26   Defendants provide her with the specs for the padding they had provided to the
 27

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                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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  1   1413 Murray Drive tenants. Defendants did not respond, so Plaintiff reiterated this
  2   request for documentation on June 6, 2024, June 13, 2024, and June 20, 2024.
  3         57.    Defendants finally provided Plaintiff with the receipts for the padding,
  4   but they did not show the purchase of sufficient padding to provide the 80%
  5   coverage as agreed to by Defendants on April 17, 2024. The documentation also
  6   showed that at least some of the rug pads provided to the tenant of 1411 Murray
  7   Drive were thinner than the pads originally agreed to.
  8         58.    In August of 2024, Plaintiff learned that the tenant occupying one of
  9   the top units at the Murray Apartments, 1411 Murray Drive, was moving out.
 10         59.    On August 28, 2024, Mental Health Advocacy Services, Inc. (MHAS)
 11   sent Defendants a demand letter on behalf of Plaintiff which requested that
 12   Defendants grant Plaintiff a reasonable accommodation of her disability to “either
 13   transfer into the upper unit at 1411 Murray Drive when it is vacated or the option to
 14   transfer into another comparable top floor unit – whichever is available sooner. We
 15   also request that Ms. Stavitsky be allowed to transfer at her current rent, or at a
 16   proportional rate to the size of the new unit.”
 17         60.    On August 29, 2024, Defendants listed 1411 Murray Drive for rent on
 18   Zillow.
 19         61.    On September 5, 2024, 12:30 pm, Defendants emailed Plaintiff
 20   directly and informed her that the monthly rent for 1411 Murray Drive is $4,600 a
 21   month, and asked that Plaintiff inform them know before 5 pm on that same day
 22   whether she was interested. MHAS responded to Defendants’ offer at 4:48 PM on
 23   September 5, 2024, to request more information and an opportunity to negotiate the
 24   terms of a potential transfer to 1411 Murray Drive accommodate Plaintiff’s
 25   disability without an increase in her current rent. Defendants did not respond or
 26   engage in the interactive process regarding the requested transfer to an upper level
 27   unit at the Murray Apartments.
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  1         62.    On September 9, 2024, MHAS received a letter (dated September 3,
  2   2024) from Defendants’ counsel responding to Plaintiff’s request for reasonable
  3   accommodation. Defendants letter alleged that “the documentation provided is
  4   insufficient to establish a connection between the disability and the requested
  5   accommodation.” Then, for the first time in over three and a half years of dialog,
  6   Defendants requested that Plaintiff provide a verification or letter from her doctor
  7   supporting her requested accommodation by September 30, 2024.
  8         63.    On September 30, 2024, MHAS emailed Defendants’ counsel in
  9   response to their letter refuting the Defendants’ denial of Plaintiff’s requested
 10   accommodation. MHAS also enclosed a medical professional’s verification of
 11   Plaintiff’s disability which included a description of the nexus between the request
 12   for transfer to an upper floor unit and Plaintiff’s disability.1 Finally, MHAS
 13   reiterated Plaintiff’s request to transfer to 1411 Murray Drive at her current rent as
 14   a reasonable accommodation of Plaintiff’s disability.
 15         64.    On October 18, 2024, Defendants’ attorney responded to the second
 16   MHAS letter. In that letter, Defendants deliberately misconstrued and cherry-
 17   picked language in Plaintiff’s health care provider’s letter of support to portrait
 18   Plaintiff as actually needing a reasonable modification to allow Plaintiff to pay to
 19   soundproof her current unit, which Plaintiff already expressly rejected as
 20   ineffective, rather than a transfer to another quieter, upper floor unit. Further,
 21   Defendant also claimed that Plaintiff had rejected transfer to the previous units
 22   offered to her at market price. However, the communications above clearly show
 23   that Plaintiff never rejected the offer of any vacant unit but instead requested that
 24   Defendants negotiate with her on the monthly rent as part of the interactive process
 25   under the FHA, which Defendants refused to do as required by law.
 26
      1
 27
       Plaintiff has already offered to provide this documentation to Defendants in her
      original request of accommodation in February of 2021. However, Defendants did
 28   not request anything form her until October of 2024.
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                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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  1         65.    On November 14, 2024, upon learning that unit 1413 Murray Drive
  2   was vacant, Plaintiff requested that she and Defendants participate in a mediation
  3   through the California Civil Rights Department to discuss potential terms of a
  4   transfer. Defendants refused to participate.
  5         66.    On November 19, 2024, MHAS submitted a further request for
  6   accommodation to Defendants on behalf of Plaintiff. In this request, MHAS laid
  7   out all the facts, supported the request with law, and requested the following
  8   reasonable accommodation:
  9         Ms. Stavitsky requests again that she be allowed to transfer to 1411
 10         Murray Drive, 1413 Murray Drive (which has recently also been
            vacated), or another upper-floor unit, at a reasonable rent as an
 11         accommodation for her disability. Should 1411 Murray Drive have
 12         already been rented out in the time since Ms. Stavitsky made her August
            28, 2024 request, we will consider renting out the unit as an unlawful
 13         denial of her request. Similarly, renting out 1413 Murray Drive would
 14         constitute a separate unlawful denial.

 15
            67.    On November 19, 2024, Defendants informed Plaintiff that unit 1413
 16
      Murray Drive had become vacant. They asked her to let them know if she was
 17
      interested in leasing that unit for a rent of $3,600 three times her current rent of
 18
      $1,111. Plaintiff responded on November 20, 2024, asking that Defendants to
 19
      confirm whether her “reasonable accommodation request to transfer to 1413
 20
      Murray at [her] current rent or proportionate amount can be granted?”
 21
            68.    On November 25, 2024, Defendants responded that Plaintiff’s request
 22
      was unreasonable. Brad Weinstock wrote:
 23
            it is unreasonable to request a unit transfer that is not comparable to
 24         your unit. As you know, your unit is a one-bedroom /one-bathroom
 25         unit. The entire building is only seven units. The unit you are requesting
            at your current rent is a two-bedroom/two-bath unit. It is an undue
 26         financial burden and hardship to give you the two-bedroom /two bath
 27         at your current rent. The upper units have been offered to you, at their
            current rents. You have refused them.
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  2         Next, and as part of the interactive process, we offered that you can add
            soundproofing to your ceiling, as a reasonable modification since you
  3         were not satisfied with the padding in the unit above yours. This has
  4         already been communicated to your attorney by our attorney. It is not
            clear if you have entertained this as an option, or refused it.
  5

  6         We submit we have honored the fair housing guarantees and in good
            faith are engaging in the interactive process. But again, we submit that
  7         your request is unreasonable.
  8         69.    On November 26, 2024, Plaintiff responded to Defendants by
  9   continuing to request the reasonable accommodation of transferring to an upper
 10   floor unit at the Murray Apartments:
 11         I am still in need of an accommodation that effectively meets the needs
 12         of my disability. 1413 Murray is a two-bedroom/one-bath unit, similar
            in size to my current unit. Raising the rent on my current unit to market
 13         rate would offset any financial burden. As outlined in my counsel's
 14         November 19 email correspondence (copied below), we maintain that
            my ongoing request to transfer at a comparable or proportionate rent is
 15         both reasonable and legally supported.
 16
            Given the lack of effective remedies over nearly four years, I hope we
 17         can now work together to resolve this matter promptly and in good
 18         faith, as required by fair housing laws. Please reference the attached
            letter. I look forward to your response.
 19
 20         70.    On November 26, 2024, Defendants’ counsel also wrote Plaintiff to
 21   inform her that Defendants denied her request to transfer to an upper unit because it
 22   “constitutes an undue financial and administrative burden.” Defense counsel also
 23   reiterated that soundproofing the ceiling at Plaintiff’s expense would be her best
 24   option, without providing any evidence that sound proofing her ceiling would
 25   provide any noise reduction in her unit. Such assertions contradicted Defendant’s
 26   own contractor’s evaluations of the effectiveness of this measure because the work
 27   needed to be done in the above unit to be effective, not in Plaintiff’s unit.
 28
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                         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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  1          71.   On March 24, 2025, MHAS made one final effort to convince
  2   Defendants to agree to grant Plaintiff her requested accommodation of allowing
  3   Plaintiff to transfer to an upper-floor unit at the Murray Apartments at her current
  4   rent without the filing of a lawsuit. The MHAS letter provided significant analysis
  5   refuting Defendants’ claims that granting Plaintiff’s requested accommodation is an
  6   undue financial or administrative burden. However, Defendants continue to refuse
  7   to grant Plaintiff’s reasonable accommodation request, and they refuse to engage in
  8   the interactive process regarding the potential of the transfer at anything lower than
  9   market rate rent despite that Plaintiff’s currently resides in a rent-controlled
 10   apartments and has lived in the building since 2011.
 11          72.   The noise intrusion from her upstairs neighbors has taken a significant
 12   toll on Plaintiff. The lack of sleep is very detrimental to both her mental and
 13   physical health. Plaintiff needs the requested reasonable accommodation of a
 14   transfer to an upper-floor unit in her building to have an equal opportunity to use
 15   and enjoy her dwelling.
 16          73.   As a result, Plaintiff has been forced to file this lawsuit to enforce her
 17   right to fair and equal access under the Federal Fair Housing Act and California
 18   law.
 19          74.   Plaintiff contends that all of her interactions with Defendants are
 20   within the requisite statute of limitations due to the continuing violation doctrine
 21   which aggregates a series of wrongs or injuries for purposes of the statute of
 22   limitations, treating the limitations period as accruing for all of them upon
 23   commission or sufferance of the last of them.” Aryeh v. Canon Bus. Sols., Inc., 55
 24   Cal. 4th 1185, 1192, 292 P.3d 871, 875 (2013). This is squarely what happened
 25   here, where Plaintiff made a request for reasonable accommodation repeatedly,
 26   starting four years ago, but who’s suffering only culminates in its totality on the last
 27   day she is not granted her accommodation. In other words, her suffering was
 28   ongoing and worsening from the time she initially made the request, and the totality
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  1   of that cause of action cannot be captured but for inclusion of all the years of that
  2   suffering that were caused by Defendants and could not have been stopped sooner.
  3         75.    Further, the continuous accrual exception to the statute of limitations
  4   also applies. “[U]nder the theory of continuous accrual, a series of wrongs or
  5   injuries may be viewed as each triggering its own limitations period, such that a suit
  6   for relief may be partially time-barred as to older events but timely as to those
  7   within the applicable limitations period.” Aryeh v. Canon Bus. Sols., Inc., 55 Cal.
  8   4th 1185, 1192, 292 P.3d 871, 875–76 (2013). Here, the same request for
  9   accommodation is being made and denied again and again whether by sophistry or
 10   inaction such that even if damages in other respects such as rent that should have
 11   been mitigated for its lack of equal use due to disability might be waived, the
 12   accommodation requests and the damages flowing from that do not. Similarly, the
 13   fact that even past reasonable accommodation requests may not have been acted on
 14   within the first 2-year period does not prevent revival of the claim by subsequent
 15   requests. Howard Jarvis Taxpayers Ass'n v. City of La Habra, 25 Cal. 4th 809, 821,
 16   23 P.3d 601, 609 (2001), as modified (July 18, 2001).
 17                         FIRST CAUSE OF ACTION:
                  VIOLATION OF THE FEDERAL FAIR HOUSING ACT
 18                           (42 U.S.C. § 3601 et seq.)
 19         76.    Plaintiff repleads and incorporates by reference, as if fully set forth
 20   again below, the factual allegations contained in Paragraphs 1 through __, above,
 21   and incorporates them here by reference as if separately repleaded hereafter.
 22         77.    The Murray Apartments is a “dwelling” available “to rent” within the
 23   meaning of the Fair Housing Act (FHA). 42 U.S.C.A. § 3602. It is a “covered
 24   multi family dwelling” under section 3604 (f)(7)(A).
 25         78.    Based on the above, Defendants have violated the protections afforded
 26   to Plaintiff under the FHA, including, but not limited to, the following:
 27                a.     Failing and refusing to make reasonable accommodations in
 28                       policies, programs, and procedures when such is necessary to
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  1                       afford Plaintiff an equal opportunity to use and enjoy the
  2                       dwelling.
  3         79.    Defendants had actual knowledge that Plaintiff is a person with a
  4   disability. Plaintiff affirmatively requested several accommodations including that
  5   she be allowed to move to upper unit of similar size to her ground-floor unit and
  6   requesting Defendants to provide sound mitigation between her unit and the unit
  7   above her. Defendants repeatedly refused or failed to adequately respond to
  8   Plaintiff’s requests for accommodations.
  9         80.    Defendants maintain a pattern and practice of denying Plaintiff full
 10   and equal access to her dwelling by their failure to respond appropriately to
 11   requests for accommodation. 42 U.S.C.A. § 3604(f)(3).
 12         81.    For these reasons, Plaintiff is entitled to actual damages, punitive and
 13   exemplary damages and injunctive relief as set forth below.
 14         WHEREFORE, Plaintiff prays for damages and injunctive relief as stated
 15   below.
 16                    SECOND CAUSE OF ACTION:
        VIOLATION OF CALIFORNIA FAIR EMPLOYMENT AND HOUSING
 17                                 ACT
                     (Cal. Government Code § 12955 et seq.)
 18
            82.    Plaintiff re-pleads and incorporates by reference, as if fully set forth
 19
      hereafter, the factual allegations contained in Paragraphs 1 through 81 of this
 20
      Complaint and incorporates them here as if separately re-pleaded.
 21
            83.    The Fair Employment and Housing Act (FEHA) prohibits
 22
      discrimination on the basis of disability in housing. Gov.C. § 12955 et seq.
 23
            84.    The Murray Apartments is a “housing accommodation” within the
 24
      meaning of FEHA. Cal. Gov't Code § 12927.
 25
            85.    Based on the above, Defendants have violated the protections of
 26
      FEHA as follows:
 27
                   a.     Failure to modify policies and practices to provide reasonable
 28
                                                     21
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  1                       accommodations to Plaintiff, including changes in policies,
  2                       programs and procedures that allow persons with disabilities to
  3                       enjoy their rental dwelling to the same extent as those without
  4                       disabilities.
  5         86.     Based on the above, Plaintiff is entitled to actual damages, punitive
  6   and exemplary damages and injunctive relief as set forth below.
  7                 WHEREFORE, Plaintiff prays for damages and injunctive relief as
  8   stated below.
  9                       THIRD CAUSE OF ACTION:
           VIOLATION OF THE CALIFORNIA DISABLED PERSONS ACT
 10                         (Cal. Civ. Code § 54 et seq
 11         87.     Plaintiff repleads and incorporates by reference, as if fully set forth
 12   again below, the allegations contained in Paragraphs 1 through 82 of this Complaint
 13   and incorporates them here as if separately re-pleaded.
 14         88.     The Disabled Persons Act (DPA) requires, “Individuals with
 15   disabilities shall be entitled to full and equal access, as other members of the
 16   general public, to all housing accommodations offered for rent, lease, or
 17   compensation in this state, subject to the conditions and limitations established by
 18   law, or state or federal regulation, and applicable alike to all persons.” Civ.C. §
 19   54.1(b)(1).
 20         89.     The subject apartment building is a housing accommodation under
 21   Civil Code section 54.1(b)(2). Plaintiff is a person with a disability within the
 22   meaning of the DPA.
 23         90.     For these reasons, Defendants have violated the DPA as follows:
 24                 a.    Denying Plaintiff full and equal access to her housing
 25                       accommodations, (Civ.C. § 54.1(b)(1)); and
 26                 b.    Refusing to “make reasonable accommodations in rules,
 27                       policies, practices, or services, when those accommodations
 28                       may be necessary to afford individuals with a disability equal
                                                     22
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  1                       opportunity to use and enjoy the premises.” (Civ.C. §
  2                       54.1(b)(3)(B))
  3         91.    Plaintiff has suffered actual damage because of such failures which she
  4   alleges stems from Defendants’ knowing and intentional violation of her rights as a
  5   disabled person under California Law.
  6         92.    Based on the above, Plaintiff is entitled to statutory damages, actual
  7   damages, punitive and exemplary damages as set forth below.
  8         WHEREFORE, Plaintiff request relief as outlined below.
  9                          FOURTH CAUSE OF ACTION:
                        VIOLATION OF UNRUH CIVIL RIGHT ACT
 10                            (Cal. Civ. Code § 51 et seq.)
 11         93.    Plaintiff repleads and incorporate by reference, as if fully set forth
 12   again below, the allegations contained in Paragraphs 1 through 92 of this Complaint
 13   and incorporates them here as if separately re-pleaded.
 14         94.    At all times mentioned, the Unruh Civil Rights Act, California Civil
 15   Code 51(b), provided that:
 16         All persons within the jurisdiction of this state are free and equal, and
            no matter what their sex, race, color, religion, ancestry, national origin,
 17         disability, or medical condition are entitled to the full and equal
            accommodations, advantages, facilities, privileges, or services in all
 18         business establishments of every kind whatsoever.
 19
            95.    The building is a business establishment and Plaintiff is a person with
 20
      a disability within the meaning of the Unruh Act.
 21
            96.    Defendants violated the Unruh Act by its acts and omissions,
 22
      including, but not limited to, the following:
 23
                   a.     Failure and refusal to modify the policies and procedures as
 24
                          necessary to ensure Plaintiff full and equal access to the
 25
                          accommodations, advantages, facilities, privileges, or services.
 26
            97.    Plaintiff is informed, believes and alleges that Defendants’ behavior,
 27
      as alleged here, was intentional: Defendants were aware or were made aware of
 28
                                                     23
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  1   their duties to refrain from establishing discriminatory policies and barriers
  2   preventing physically disabled persons from accessing its facilities, before this
  3   Complaint was filed.
  4         98.    Defendants’ refusal to provide Plaintiff’s the requested
  5   accommodations demonstrates a knowing and conscious disregard for the law in
  6   general and an intentional denial of rights of disabled tenants in particular. Such
  7   conduct justifies an award of treble, punitive and exemplary damages along with all
  8   other relief sought.
  9         WHEREFORE, Plaintiff requests relief as outlined below.
 10                                            PRAYER
 11         Plaintiff has no adequate remedy at law to redress the wrongs suffered as
 12   alleged in this Complaint. Plaintiff has suffered and will continue to suffer
 13   irreparable injury because of the unlawful acts, omissions, policies, and practices of
 14   Defendants as alleged here, unless Plaintiff is granted the relief she requests.
 15   Plaintiff and Defendants have an actual controversy and opposing legal positions on
 16   Defendants’ violations of the laws of the United States and the State of California.
 17   The need for relief is critical because the rights at issue are paramount under the
 18   laws of the United States and the State of California.
 19         WHEREFORE, Plaintiff JENNIFER STAVITSKY and prays for judgment
 20   and the following specific relief against Defendants:
 21         1.     An order enjoining Defendants, their agents, officials, employees, and
 22   all persons acting in concert with them:
 23                a.        From continuing the unlawful acts, conditions, and practices
 24                          described in this Complaint;
 25                b.        To provide a policy and procedure consistent with California
 26                          and federal law to provide reasonable accommodations for
 27                          persons with disabilities who live at the building or who wish to
 28                          do so;
                                                     24
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  1                c.      To train Defendants’ employees and agents in how to
  2                        accommodate the rights and needs of physically disabled
  3                        persons;
  4                d.      To implement nondiscriminatory protocols, policies, and
  5                        practices for accommodating persons with mobility disabilities;
  6                e.      Provide a mutually agreeable top floor unit at the same or
  7                        proportional rental rate to her current rental rate;
  8                f.      As an item of damages, pay the cost of Plaintiff’s moving
  9                        expenses and a moving company of her choosing to move her
 10                        belonging once a top floor unit is mutually agreed upon.
 11         2.     Retain jurisdiction over Defendants until the Court is satisfied that
 12   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of
 13   physically inaccessible public facilities and policies as complained of here no
 14   longer occur, and cannot recur;
 15         3.     Award to Plaintiffs all appropriate damages, including, but not limited
 16   to, statutory damages, general damages, and treble damages in amounts within the
 17   jurisdiction of the Court, all according to proof;
 18         4.     Award to Plaintiffs all reasonable statutory attorney fees, litigation
 19   expenses, and costs of this proceeding as provided by law;
 20         5.     Award prejudgment interest under Civil Code section 3291; and
 21         6.     Grant any other relief that this Court may deem just and proper.
 22   Date: June 2, 2025                                  CLEFTON DISABILITY LAW
 23
                                                             /s/ Aaron Clefton
 24                                                       By AARON CLEFTON, Esq.
 25                                                       Attorney for Plaintiff
                                                          JENNIFER STAVITSKY
 26

 27   //
 28   //
                                                     25
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  1                                       JURY DEMAND
  2         Plaintiff demands a trial by jury for all claims for which a jury is permitted.
  3
      Date: June 2, 2025                                  CLEFTON DISABILITY LAW
  4

  5                                                          /s/ Aaron Clefton
                                                          By AARON CLEFTON, Esq.
  6
                                                          Attorney for Plaintiff
  7                                                       JENNIFER STAVITSKY
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